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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

In re:                             )
                                   )                    Case No. 09-37480 (KHT)
BYRON PATTERSON MCDANIEL JR. )
AND LAURA PAIGE MCDANIEL           )                    Chapter 13
                                   )
      Debtors.                     )
__________________________________ )
                                   )
BYRON PATTERSON MCDANIEL JR. )
AND LAURA PAIGE MCDANIEL,          )
                                   )                    Adversary Proceeding No. 17-01274-KHT
      Plaintiffs,                  )
v.                                 )
                                   )
NAVIENT SOLUTIONS, LLC,            )
                                   )
      Defendant.                   )
_____________________________________________________________________________

   DEFENDANT NAVIENT SOLUTIONS, LLC’S UNOPPOSED MOTION UNDER
 L.B.R. 7007-1 FOR LEAVE TO FILE A REPLY IN SUPPORT OF ITS MOTION TO
DISMISS PLAINTIFFS’ CLAIMS UNDER FED. R. CIV. P. 12(b)(6) AND MOTION TO
STRIKE IMMATERIAL AND IMPERTINENT MATTER UNDER FED. R. CIV. P. 12(f)
_____________________________________________________________________________

         Pursuant to L.B.R. 7007-1, Defendant Navient Solutions, LLC (“NSL”), moves the

Court, on an unopposed basis (the “Unopposed Motion”), for an Order granting NSL leave to file

a reply (the “Reply”) on or before November 14, 2017, in support of its Motion to Dismiss

Plaintiffs’ Claims under Fed. R. Civ. P. 12(b)(6) and Motion to Strike Immaterial and

Impertinent Matter under Fed. R. Civ. P. 12(f), filed on October 10, 2017 [Dkt. #8] (the “Motion

to Dismiss”). As grounds for its Unopposed Motion, NSL respectfully states as follows:

         1.         Counsel for NSL conferred with counsel for Plaintiffs regarding NSL’s request

for leave set forth herein. The undersigned is authorized to report that Plaintiffs consent to the

relief requested in this Unopposed Motion.



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         2.         Because of the number, complexity, and importance of the legal issues addressed

in the Motion to Dismiss and in Plaintiffs’ Memorandum of Law in Response to Defendants’

Motion to Dismiss, filed October 24, 2017 [Dkt. #10] (“Plaintiffs’ Response”), NSL believes

further briefing in a reply is required to fully inform the Court about the relevant legal matters

and rebut arguments raised in Plaintiffs’ Response.

         3.         NSL requests leave to file its Reply within 21 days after the filing of Plaintiffs’

Response, or by November 14, 2017. Since the filing of the Motion to Dismiss, the parties have

been engaged in significant settlement discussions, which, if successful, would resolve all

pending litigation between Plaintiffs and NSL. If successful, those settlement discussions would

resolve all pending litigation between the parties. Thus, NSL would like to focus its immediate

efforts on trying to conclude its settlement discussions with Plaintiffs, rather than to incur

additional—and potentially unnecessary—attorneys’ fees and costs in replying to Plaintiffs’

Response.

         4.         Accordingly, NSL seeks leave under L.B.R. 7007-1 for a period of 21 days from

the filing of Plaintiffs’ Response, through and including November 14, 2017, within which to file

its Reply. NSL is hopeful that the parties’ settlement discussions will reach a conclusion (one

way or the other) before this date.

         WHEREFORE, NSL respectfully requests that this Court enter the proposed order

submitted herewith, granting NSL leave to file a Reply in support of its Motion to Dismiss on or

by November 14, 2017.




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         Dated this 26th day of October, 2017.

                                             SHERMAN & HOWARD L.L.C.


                                             /s/ Eric E. Johnson
                                             Eric E. Johnson
                                             633 Seventeenth Street, Suite 3000
                                             Denver, Colorado 80202
                                             Tel: (303) 297-2900
                                             E-Mail: ejohnson@shermanhoward.com

                                             Attorney for Navient Solutions, LLC




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 26th day of October, 2017 a true and correct
copy of the foregoing DEFENDANT NAVIENT SOLUTIONS, LLC’S UNOPPOSED
MOTION UNDER L.B.R. 7007-1 FOR LEAVE TO FILE A REPLY IN SUPPORT OF ITS
MOTION TO DISMISS PLAINTIFFS’ CLAIMS UNDER FED. R. CIV. P. 12(b)(6) AND
MOTION TO STRIKE IMMATERIAL AND IMPERTINENT MATTER UNDER FED.
R. CIV. P. 12(f) was served by depositing the same in the U.S. mail, postage prepaid, as follows:

Austin Smith
Smith Law Group
3 Mitchell Place
New York, New York 10017




                                            /s/ Roberta Neal
                                            Roberta Neal




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